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            1    THOMAS A. WILLOUGHBY, State Bar No. 137597
                 LAUREN KAWANO, State Bar No. 309273
            2    FELDERSTEIN FITZGERALD
                 WILLOUGHBY PASCUZZI & RIOS LLP
            3    500 Capitol Mall, Suite 2250
                 Sacramento, CA 95814
            4    Telephone: (916) 329-7400
                 Facsimile: (916) 329-7435
            5    e-mail: twilloughby@ffwplaw.com

            6    Proposed Attorneys for Debtor in Possession

            7

            8                               UNITED STATES BANKRUPTCY COURT

            9                                EASTERN DISTRICT OF CALIFORNIA

           10                                       SACRAMENTO DIVISION

           11    In re:                                            CASE NO.: 20-24123-11
           12    RUSSELL WAYNE LESTER, an                          Chapter 11
                 individual, dba Dixon Ridge Farms,
           13
                                                                   DCN: FWP-7
                                                                   [NO HEARING REQUIRED]
           14
                                    Debtor in Possession.
           15

           16

           17                  APPLICATION TO EMPLOY FELDERSTEIN FITZGERALD
                           WILLOUGHBY PASCUZZI & RIOS LLP AS BANKRUPTCY COUNSEL
           18
                          Russell Wayne Lester, doing business as Dixon Ridge Farms, the debtor in possession
           19
                 herein (the “Debtor in Possession”), in the above-referenced case, hereby requests authority to
           20
                 employ Felderstein Fitzgerald Willoughby Pascuzzi & Rios LLP as his bankruptcy counsel and in
           21
                 support of this application respectfully represents the following:
           22
                          1.    This application is made pursuant to Bankruptcy Code sections 327 and 330,
           23
                 Bankruptcy Rules 2014, 2016 and 5002, and the Guidelines of the Office of the United States
           24
                 Trustee (“UST Guidelines”).
           25
                          2.    The Debtor in Posssession filed a voluntary petition for relief under chapter 11 of
           26
                 the Bankruptcy Code (the “Bankruptcy Case”) on August 27, 2020 (the “Petition Date”). The
           27
                 Debtor in Possession remains in possession of its estate, no trustee having been appointed. The
           28
                                                                           APP. TO EMPLOY FFWPR AS BANKRUPTCY COUNSEL

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            1    Debtor in Possession is operating and managing its business as a Debtor in Possession pursuant to

            2    the provisions of Sections 1107 and 1108 of the Bankruptcy Code.

            3           2.      The Debtor in Possession seeks to retain Felderstein Fitzgerald Willoughby

            4    Pascuzzi & Rios LLP (“FFWPR”), whose address is 500 Capitol Mall, Suite 2250, Sacramento,

            5    California, 95814, as his general bankruptcy counsel in the Bankruptcy Case and has entered into,

            6    subject to Bankruptcy Court approval, the Contract for Legal Services with FFWPR, which is

            7    attached as Exhibit 1 to the Exhibit Document filed with this application (the “Retention

            8    Agreement”).

            9                                      REASON FOR SELECTION

           10           3.      The Debtor in Possession has requested the services of FFWPR because the

           11    Debtor in Possession knows the firm to be skilled in insolvency, reorganization and commercial

           12    transactions and that its members have substantial knowledge and experience that will enable

           13    them to perform services of special benefit to the Debtor in Possession and his estate in a cost-

           14    effective manner. Details regarding the qualifications of FFWPR may be found at FFWPR’s

           15    website, which address is as follows: www.ffwplaw.com.

           16                                   SCOPE OF FFWPR’S EMPLOYMENT

           17           3.      The professional services which the firm will render to the Debtor in Possession

           18    are generally as follows:

           19                   a.      To advise and represent the Debtor in Possession with respect to all matters

           20    and proceedings in this Chapter 11 case;

           21                   b.      To assist the Debtor in Possession in all bankruptcy issues which may arise

           22    in the operation of the Debtor in Possession’s business, including negotiations with creditors,

           23    interest groups and any Official Committee of Unsecured Creditors; and

           24                   c.      To assist the Debtor in Possession with the preparation of and confirmation

           25    of a plan of reorganization.

           26           4.      FFWPR has only been retained to provide those bankruptcy legal services

           27    reasonably required to represent the Debtor in Possession in this Bankruptcy Case. For example,

           28    FFWPR does not provide advice in other areas of the law, such as tax, environmental or
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            1    employment, or in non-legal matters such as business and financial planning, or asset protection

            2    (“Legal Areas Outside the Scope of Representation”).

            3              5.   Although FFWPR will coordinate with the Debtor in Possession on Bankruptcy

            4    Case issues related to Legal Areas Outside the Scope of Representation that may arise, the Debtor

            5    in Possession will need to consult with and retain other professionals in those areas as the need

            6    arises.

            7                                        DISINTERESTEDNESS

            8              6.   Except as set forth in the Declaration of Thomas A. Willoughby (the “Willoughby

            9    Declaration”) and to the best of Mr. Willoughby’s knowledge, information and belief, FFWPR (i)

           10    does not have any connections with the Debtor in Possession, with his creditors, or with any

           11    parties in interest, or with their attorneys and accountants, or with the office of the United States

           12    Trustee, or with any person employed in the office of the United States Trustee which would

           13    preclude employment; and (ii) does not now hold or represent any interest materially adverse to

           14    the interests of the estate or of any class of creditors or equity security holders. FFWPR submits

           15    that none of the connections set forth in the Willoughby Declaration are disqualifying

           16    connections.

           17                                            COMPENSATION

           18              7.   FFWPR has agreed to undertake this matter at its standard hourly rates which as of

           19    the date of this Application are as follows:

           20
                     Name                            Title                           Hourly Rate
           21        Paul J. Pascuzzi                Managing Partner                       $525 per hour
           22        Thomas A. Willoughby            Partner                                $525 per hour
           23        Jason E. Rios                   Partner                                $450 per hour

           24        Holly A. Estioko                Associate                              $350 per hour

           25        Lauren M. Kawano                Associate                              $325 per hour
                     Susan Darms                     Legal Assistant                         $95 per hour
           26
                     Steven H. Felderstein           Of Counsel                             $625 per hour
           27

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            1    FFWPR also will bill the estate for all reasonable and necessary out-of-pocket expenses incurred

            2    as permitted by applicable provisions of the Bankruptcy Code, Bankruptcy Rules and the UST

            3    Guidelines.

            4           8.      FFWPR understands that all compensation is subject to Sections 328, 330 and 331

            5    of the Bankruptcy Code. Notwithstanding anything to the contrary contained in this application

            6    and its supporting papers, including the Retention Agreement, FFWPR agrees that the relevant

            7    provisions of the Bankruptcy Code, Bankruptcy Rules, Local Rules, and the UST Guidelines will

            8    apply and prevail.

            9           9.      The rates set forth above are subject to annual adjustment upon 30-days’ notice to

           10    the client.   If at any time FFWPR increases the rates for its services, FFWPR will file a

           11    supplemental affidavit with the Court describing such increases, including justification for such,

           12    and provide notice of such increases to the United States Trustee and all creditors and parties in

           13    interest in the Bankruptcy Case, or such other service as is prescribed by the Court if a limited

           14    notice motion is approved. In seeking compensation and out-of-pocket expense reimbursement,

           15    FFWPR will comply with the relevant provisions of the Bankruptcy Code, Bankruptcy Rules,

           16    Local Rules, and the UST Guidelines. Notwithstanding anything in the Retention Agreement to

           17    the contrary, interest on compensation or expense reimbursement will not be charged except upon

           18    further motion to and order from the Court.

           19                          REPRESENTATION ACKNOWLEDGEMENTS

           20           10.     FFWPR’s representation of the Debtor in Possession pursuant to the application is

           21    anticipated to continue past confirmation of a plan of reorganization/liquidation through the

           22    closing of the Bankruptcy Case, with withdrawal from such representation at any other time to be

           23    allowable only pursuant to an order of this Court.

           24           11.     Mr. Willoughby has represented both debtors in possession and trustees in Chapter

           25    11 cases for over 32 years and he has always believed, as do his partners, that when taking on

           26    such a representation the firm has a fiduciary duty to the Debtor in Possession. As the lead

           27    Partner on representing the Debtor in Possession, Mr. Willoughby acknowledges and affirms that

           28    by accepting this representation, FFWPR acknowledges that it has, and agrees that it has, a
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            1    fiduciary duty to the Debtor in Possession as the Debtor in Possession in the Bankruptcy Case and

            2    to the bankruptcy estate and shall act in accordance with its fiduciary duties.

            3           12.     FFWPR recognizes the duty to disclose connections pursuant to Bankruptcy

            4    Rule 2014 is a continuing obligation.

            5                                              CONCLUSION

            6           13.     The Debtor in Possession believes it is essential that FFWPR be employed to

            7    provide the services described above and that FFWPR be permitted to bill on an hourly basis,

            8    subject to the requirements of the Bankruptcy Code for Court approval of professional fees. The

            9    Debtor in Possession further requests the Court approve the employment of FFWPR as counsel

           10    for the Debtor in Possession effective as of the Petition Date.

           11           WHEREFORE, based upon the foregoing, the Debtor in Possession requests that the

           12    Court enter an order authorizing:

           13           1.      The employment of Felderstein Fitzgerald Willoughby Pascuzzi & Rios LLP as

           14    the Debtor in Possession’s attorneys on the terms and conditions set forth above effective as of

           15    the Petition Date; and

           16           2.      Such other and further relief as the Court may deem proper.

           17    Dated: August 27, 2020

           18    THE BANKRUPTCY ESTATE OF                          FELDERSTEIN FITZGERALD
                 RUSSELL WAYNE LESTER                              WILLOUGHBY PASCUZZI & RIOS LLP
           19

           20                                                           /s/ Thomas A. Willoughby
                                                                   By:____________________________
                 By:________________________
                      /s/ Russell Wayne Lester                        THOMAS A. WILLOUGHBY
                    RUSSELL WAYNE LESTER
           21                                                         Proposed Attorneys for
                                                                      Russell Wayne Lester
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